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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK

  FAMILY FIRST FUNDING LLC,

                         Plaintiff,                    Case No. 1:22-cv-4406-GHW

         vs.                                           NOTICE OF APPEARANCE OF
                                                       COUNSEL
  SPROUT MORTGAGE ASSET TRUST,

                         Defendant.


To: The Clerk of the Court and all parties of record

       PLEASE TAKE NOTICE, that Forchelli Deegan Terrana LLP hereby appears in this action

for defendant SPROUT MORTGAGE ASSET TRUST, and demands that a copy of all papers in

this action be served upon the undersigned at the office and email address stated below.

Dated: July 18, 2022
       Uniondale, New York

                                                       Respectfully submitted,

                                                       FORCHELLI DEEGAN TERRANA LLP

                                                       By: _________/s/_________________
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